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   April 15, 2020

   VIA ECF
   Hon. R. Brooke Jackson
   United States District Judge
   Alfred A. Arraj United States Courthouse
   901 19th Street
   Denver, CO 80294

   Re:     Warner Records, et al. v. Charter Communications, Inc., Case No. 1:19-cv-00874-RBJ-MEH

   Dear Honorable Judge Jackson:

           Charter responds to Plaintiffs’ April 8, 2020 Letter (Dkt. 156) seeking approval to move to
   dismiss Charter’s counterclaims. The request should be denied as Plaintiffs’ arguments lack merit.
   To the extent the Court deems more support necessary, Charter requests the opportunity to amend. 1

   I.      Charter’s Declaratory Judgement Claim for Non-Infringement

           Plaintiffs’ anticipated motion to dismiss Charter’s declaratory judgment claim for non-
   infringement lacks merit. Plaintiffs assert claims in this case between March 24, 2013 and May
   17, 2016 (the “Claim Period”). Charter’s counterclaim for non-infringement is not limited to
   Plaintiffs’ Claim Period and, therefore, not a mirror-image of Plaintiffs’ claim. When deciding
   whether to exercise jurisdiction over a declaratory judgment claim, courts are to consider, in part,
   whether the claim would settle the controversy and whether it would serve a useful purpose in
   clarifying the legal relations at issue. See State Farm Fire & Cas. Co. v. Mhoon, 31 F.3d 979, 982
   (10th Cir. 1994). Here, Charter’s counterclaim satisfies both these elements. See also Prograde
   Ammo Grp. LLC v. Perry, 2015 WL 1064266, at *3 (D. Colo. Mar. 9, 2015) (refusing to dismiss
   a non-infringement counterclaim that exceeded plaintiff’s infringement claim). 2 During a meet and
   confer, Plaintiffs’ counsel raised the issue of whether, if Plaintiffs stipulated not to pursue the same
   claims post-Claim Period, Charter would dismiss this counterclaim. Charter asked Plaintiffs’
   counsel to confirm whether Plaintiffs were amenable to the stipulation but have not yet heard back.




   1
     Charter informed Plaintiffs that it would amend its Counterclaims to add a claim pursuant to the Colorado
   Consumer Protection Act, Colo. Rev. Stat. 6-1-101 et seq. Charter still intends to add this claim pursuant
   to Fed. R. Civ. P. 15(a)(1)(B) after Plaintiffs file a motion under Rule 12 or answer.
   2
     Plaintiffs’ reliance on TBL Collectibles, Inc. v. Owners Ins. Co., 285 F. Supp. 3d 1170, 1195–96 (D. Colo.
   2018) and PDX Pro Co. v. Dish Network, LLC, 2013 WL 3296539, at *2 (D. Colo. July 1, 2013) is
   misplaced, as neither of those cases dealt with counterclaims seeking a declaratory judgment.
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   II.     Charter’s DMCA Section 512(f) counterclaim, 17 U.S.C. §512(f)

           Charter also asserts a counterclaim for Plaintiffs’ violation of § 512(f) of the Digital
   Millennium Copyright Act (“DMCA”). The DMCA provides safe harbor for online service
   providers whose users infringe third-party content. § 512(f) protects ISPs that receive knowingly
   false notices of alleged infringement by its subscribers. Charter asserts this claim because Plaintiffs
   sent Charter notices for hundreds of works that they dropped from this case after being ordered to
   produce basic chain of title information. Plaintiffs argue that this counterclaim should be dropped
   because Charter has failed to adequately allege the elements of the claim, including Plaintiffs’
   knowledge, and that the counterclaim is otherwise time-barred. Neither argument has merit.

           Plaintiffs first argue that Charter does not adequately allege “that it suffered cognizable
   harm” in connection with its § 512(f) counterclaim, on the basis that Charter did not itself remove
   material from the Internet. But the statute does not prescribe any particular means of “removal or
   blocking,” and there is no dispute that Charter, in forwarding the notices, took the only steps in its
   power to remove the accused material. Charter’s allegations of harm easily meet the pleading
   standard: it alleges it was harmed by incurring costs in processing the notices and because false
   notices create tension with Charter’s subscribers, negatively affecting goodwill and causing
   reputational harm to Charter, and that it was injured because it was required to investigate the false
   notices. Countcls., ¶¶ 121-124. The mere fact that Charter, a § 512(a) “conduit” service provider,
   does not host and cannot itself remove content does not mean it is not harmed by Plaintiffs’ false
   notices. Plaintiffs’ cited cases, which concern § 512(c) content hosting services, are inapposite.
   Congress “intended [§ 512(f)] to deter knowingly false allegations to service providers in
   recognition that such misrepresentations are detrimental to rights holders, service providers, and
   Internet users.” H.R. Rep. 105-551 (pt. 2) at 59. Section 512(f) should be interpreted to apply to
   ISPs like Charter, which otherwise would have no recourse against knowingly inaccurate notices.

           Plaintiffs also argue Charter’s allegations that they “should have known” the notices were
   false are insufficient. But many courts to address this issue hold it is. See Johnson v. New Destiny
   Christian Ctr. Church, Inc., 2017 U.S. Dist. LEXIS 136788, at *7 (M.D. Fla. Aug. 25, 2017)
   (“knowingly” “means that a party actually knew, should have known if it acted with reasonable
   care or diligence, or would have had no substantial doubt had it been acting in good faith, that it
   was making misrepresentations”). 3 It is an issue of fact whether Plaintiffs had a good faith belief.

           Contrary to Plaintiffs’ contention, Rossi v. Motion Picture Ass’n of Am., Inc., 391 F.3d
   1000 (9th Cir. 2004) did not create a bright-line rule—even in the Ninth Circuit—that a § 512(f)
   claim requires actual knowledge of falsity. See, e.g. Automattic, 82 F. Supp. 3d at 1026-27 (finding
   “knowing misrepresentation” when “Defendant could not have reasonably believed that the
   [allegedly infringed material] … was protected under copyright.”). And Rossi is also inapposite

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     See also Online Policy Grp. v. Diebold, Inc., 337 F. Supp. 2d 1195, 1204 (N.D. Cal. 2004); Automattic
   Inc. v. Steiner, 82 F. Supp. 3d 1011, 1026-27 (N.D. Cal. 2014); Ground Zero Museum Workshop v.
   Wilson, 813 F. Supp. 2d 678, 704 (D. Md. 2011); Disney Enters. v. Hotfile Corp., 2013 U.S. Dist. LEXIS
   172339 (S.D. Fla. Aug. 28, 2013) (where plaintiffs did not own works for which they had sent notices, a
   lack of good-faith belief that content was infringing could form the basis for a § 512(f) counterclaim.).
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   where, as here, a notice sender does not own the works at issue, or lacks authorization to send
   notices on behalf of the rights owner. Indeed, this Court reached the same conclusion in Dudnikov
   v. MGA Entm’t, Inc., when it held that overcoming a § 512(f) counterclaim “required [defendant]
   to show that it had a sufficient basis to form the required good faith belief that the plaintiffs’ auction
   infringed on its rights.” 410 F. Supp. 2d 1010, 1013 (D. Colo. 2005). Plaintiffs’ “subjective good
   faith” argument is even more implausible in light of false statements in their notices—made under
   penalty of perjury—that the sender was authorized to act on behalf of the copyright owner. See 17
   U.S.C. § 512(c)(3)(A)(vi). Statements made under the penalty of perjury are permitted in lieu of
   requiring that such statements be sworn to before an official, see 28 U.S.C. § 1746, and “swearing
   to the truth of false information is perjury,” Zunogama v. Vigil, 2015 U.S. Dist. LEXIS 50126, at
   *4 (D. Colo. Apr. 16, 2015) (Mix, Mag. J.). Plaintiffs cite no authority that it is possible to form a
   “good faith belief” without any basis to do so—still less that a putative “subjective good faith
   belief” can excuse a false statement made under penalty of perjury. Much more is required.

           Charter’s allegations are clearly sufficient under the proper standard. It alleges that
   Plaintiffs “knew or should have known, that the notices contained inaccurate information before
   they were sent. For example, the Record Company Plaintiffs knew, or should have known, that
   they did not own or control certain of the works identified in notices sent to Charter before they
   were sent.” Countcls., ¶ 116. “Plaintiffs nevertheless sent, or authorized the sending of, notices to
   Charter, despite this knowledge.” Id., ¶ 117; see also id., ¶ 74. And despite Plaintiffs having
   recently been awarded statutory damages of nearly $100,000 per work in a separate case for certain
   works dropped in this case, Plaintiffs’ counsel was unable to confirm to Judge Hegarty that
   Plaintiffs actually owned those works. Id., ¶ 72; ECF 138 (Feb. 19, 2020 Hr’g Tr. 30:6-31:2).

           Plaintiffs also incorrectly argue that Charter’s § 512(f) claim is time-barred by the
   “DMCA’s three-year statute of limitations” and cite to “Section 512(b) of the DMCA.” But neither
   Section 512(b) nor any other section of the DMCA contains a statute of limitations. Presumably
   Plaintiffs intended to cite to the Copyright Act’s general three-year statute of limitations set forth
   in § 507(b). But—as Plaintiffs fail to address—the discovery rule broadly applies to claims arising
   under the Copyright Act. See Diversey v. Schmidly, 738 F.3d 1196, 1201 (10th Cir. 2013); Petrella
   v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 670 (2014). 4 Here, Charter adequately alleges the
   basis for application of the discovery rule. While Charter received Plaintiffs’ notices between 2013
   and 2016, it was not until January 15, 2020, after Plaintiffs dropped the works identified in these
   notices, that Charter learned of the false statements at issue in this counterclaim, well within the
   Copyright Act’s general three-year statute of limitations. ECF 111. The discovery rule precludes
   dismissal based on the statute of limitation; if anything, the question is one for the finder of fact.
   See Minck v. BNSF Ry. Co., 2013 WL 3895031, at *4 (D. Colo. July 26, 2013) (Jackson, J.).

   Respectfully submitted,

   s/ Jennifer A. Golinveaux
   Jennifer A. Golinveaux

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     Plaintiffs’ only authority is inapposite as it turns on whether statutes of limitation on counterclaims are
   tolled by the complaint. See Handshoe v. Perret, 2018 WL 5316361, at *11 (S.D. Miss. Oct. 26, 2018).
